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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF LOUISIANA

  THE STATE OF LOUISIANA,
  By and through its Attorney General, JEFF
  LANDRY, et al.,

                                     PLAINTIFFS,

  v.
                                                   CIV. NO. 2:21-CV-00778-TAD-KK
  JOSEPH R. BIDEN, JR., in his official capacity
  as President of the United States; et al.,

                                  DEFENDANTS.


             MEMORANDUM IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
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                                          INTRODUCTION

         With the stroke of a pen just a week after he took his oath of office, President Biden put his

 campaign promises above federal law and by executive fiat banned all new domestic oil and gas

 production. Never mind that the Outer Continental Shelf Lands Act (OCSLA) and Mineral Leasing

 Act (MLA) require the Federal Government to facilitate the expeditious and safe development of

 American energy resources and set procedures for doing so. And that States rely on statutory revenue-

 sharing provisions from lease sales for billions of dollars in annual funding—including for education

 and environmental-restoration projects. And that energy production supports thousands of jobs and

 significant investment and tax revenue—facts critical always but especially during a global pandemic.

 And that the Administrative Procedure Act requires the Federal Government to provide reasoned

 explanations when it changes regulatory course. No—each interest fell silent victim to the President’s

 insistence that he knows better.

         He does not. If “ours” really “is a government of laws, not of men,” and “we submit ourselves

 to rulers only if under rules,” Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 646 (1952) (Jackson,

 J., concurring in the judgment), the development ban and related acts must be enjoined. The ban does

 not cite the statutory frameworks requiring oil and gas leasing, explain how the moratorium comports

 with those statutes and accompanying regulations, or give any reason for the moratorium. Nor does

 it explain why the Federal Government so drastically changed course without allowing interested

 parties to express their views. Each of those failings is fatal to the ban. The Court should grant

 Plaintiffs’ motion and enjoin it.




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                                              BACKGROUND
 I.      BY STATUTE, THE FEDERAL GOVERNMENT MUST REGULARLY OPEN THE OUTER
         CONTINENTAL SHELF FOR ENERGY DEVELOPMENT.

         A.       The Outer Continental Shelf Lands Act Establishes a Mandatory, Four-Step
                  Process for Scheduling Lease Sales in the Outer Continental Shelf.

         Congress passed the Outer Continental Shelf Lands Act (OCSLA) more than 70 years ago.

 OCSLA declares “the outer Continental Shelf” to be “a vital national resource reserve held by the

 Federal Government for the public.” 43 U.S.C. §1332(3). To make the most of that resource, OCSLA

 directs the Secretary of the Interior to make the Shelf “available for expeditious and orderly

 development, subject to environmental safeguards, in a manner which is consistent with the

 maintenance of competition and other national needs.” Id.; see also Ensco Offshore Co. v. Salazar, 781 F.

 Supp. 2d 332, 339 (E.D. La. 2011) (noting “OCSLA’s overriding policy of expeditious development”).

         OCSLA facilitates the Shelf’s expeditious development by directing the Secretary to administer

 a leasing program to sell exploration interests in portions of the Shelf to the highest bidder. 43 U.S.C.

 §§1334(a), 1337(a)(1). To this end, OCSLA sets out a four-step process in which the Secretary must

 (1) create a Five-Year Leasing Program, (2) hold lease sales, (3) grant or deny exploration permits and

 plans, and (4) grant or deny final development and production plans. See Hornbeck Offshore Servs., L.L.C.

 v. Salazar, 696 F. Supp. 2d 627, 632 (E.D. La. 2010) (citing Sec’y of the Interior v. California, 464 U.S. 312,

 337 (1984)). Each step must follow stringent administrative requirements designed to maximize the

 chances for the public—including affected States and industry—to provide input on those lease sales.

         B.       President Obama’s Heavily Vetted Five-Year Program Governs Lease Sales
                  Occurring Now Through the End Of 2022.
         Current lease sales in the Outer Continental Shelf are governed by the 2017-2022 Five Year

 Oil and Gas Leasing Program (“the Current Five-Year Program” or “Five-Year Program”). The

 process of creating the Current Five-Year Program began in 2014 during the Obama Administration.

 President Obama’s Bureau of Ocean Energy Management (BOEM) published a request for

                                                            2
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 information in the Federal Register and sent a letter to all Governors, Tribes, and interested federal

 agencies requesting input on the Program. See 79 Fed. Reg. 34349 (June 16, 2014). BOEM received

 over 500,000 comments in response to the RFI, allowing it to discharge its obligation under OCSLA

 to take into account economic, social, and environmental values in making its leasing decisions. See 43

 U.S.C. §1344(a); Five-Year Program 3-1. In 2015, President Obama’s BOEM published the Draft

 Proposed Program. That published draft incorporated responses to the RFI comments and set out a

 draft schedule of potential lease sales. And started a 60-day comment period in which BOEM received

 over one million comments. 80 Fed. Reg. 4941 (Jan. 29, 2015). After considering those comments,

 BOEM next published the Proposed Program, thereby starting a new 90-day comment period. 81

 Fed. Reg. 14881 (Mar. 18, 2016). Again, BOEM received over one million comments, held public

 meetings, and created environmental impact statements in compliance with the National

 Environmental Policy Act (NEPA). Final Program S-2-3.

         After all that, President Obama’s BOEM published the Proposed Final Program in November

 2016. In it, the Secretary determined which areas to include in the lease sales. In recognition that “[t]he

 Gulf of Mexico is known to contain significant oil and gas resources and already has world-class, well-

 developed infrastructure, including established spill response capability,” the “PFP schedules 10

 region-wide lease sales in the areas of the Gulf of Mexico that are not under Congressional moratorium

 or otherwise unavailable for leasing.” Final Program S-2. The Proposed Final Program also observed

 that “[i]n the Gulf of Mexico, infrastructure is mature, industry interest and support from affected

 states and communities is strong, and there are significant oil and gas resources available.” Final

 Program S-2. Thus, “[t]o take advantage of these incentives to OCS activity, the region-wide sale

 approach makes the entire leasable Gulf of Mexico OCS area available in each lease sale.” Id.

         On January 17, 2017—60 days after the Final Program was transmitted to President Obama

 and Congress—the Secretary approved the Final Program, “which schedules 11 potential oil and gas
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 lease sales, one sale in the Cook Inlet (Alaska) Program Area and 10 sales in the GOM Program

 Areas,” with “one sale in 2017, two each in 2018-2021, and one in 2022.” Record of Decision and

 Approval of the 2017-2022 Outer Continental Shelf Oil and Gas Leasing Program 3 (Jan. 17, 2017).

 The Secretary’s approval further specifically affirms the Final Program’s specification that “[t]he GOM

 sales would be region-wide and include unleased acreage not subject to moratorium or otherwise

 unavailable ... to provide greater flexibility to industry, including more frequent opportunities to bid

 on rejected, relinquished, or expired OCS lease blocks.” Id.1

           C.      President Obama’s Five-Year Program Approves Lease Sale 257 in the Gulf of
                   Mexico and Lease Sale 258 in Cook Inlet, Alaska.

           The Final Program approved and scheduled two lease sales relevant here. The first is GOM

 OCS Oil and Gas Lease Sale 257. Lease Sale 257 would have comprised the Western and Central

 Planning Areas of the Gulf of Mexico and a portion of the Eastern Planning Area not subject to

 congressional moratorium. Final Program S-5; see also 86 FR 10132, https://bit.ly/3vDjT47. The

 second is Lease Sale 258 in Cook Inlet, Alaska, “where there is existing infrastructure currently

 supporting State leasing activities.” Final Program S-2.

           In accordance with the Five-Year Program, BOEM published a Proposed Notice of Sale for

 Lease 257 in the Gulf of Mexico in November 2020. See 85 Fed. Reg. 73508 (Nov. 18, 2020). As

 OCSLA requires, BOEM sent the Proposed Notice to Governors of the affected States. Proposed

 Notice 18. It was also opened for public comment. 85 Fed. Reg. 73508 (Nov. 18, 2020).

           The Secretary approved the Notice of Sale in a Record of Decision. See 86 Fed. Reg. 6365 (Jan.

 21, 2021). In the ROD, the Secretary noted reliance on the “Gulf of Mexico Outer Continental Shelf

 Lease Sale: Final Supplemental Impact Statement” in considering how to proceed with Lease Sale 257.

 Approval 3. The Secretary analyzed five separate alternatives, including a no-action option, and


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     Until the Biden Ban, all lease sales in the Five-Year Program occurred on schedule.
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 determined that Alternative A—a regionwide lease sale with minor exclusions—would be “in the best

 interest of the Nation and meets the purposes of the OCS Lands Act.” Approval 5. The Secretary also

 determined that Lease Sale 257 “promotes domestic energy production, which can reduce the need

 for oil imports,” and promotes other national interests including “continued employment, labor

 income, [and] tax revenues.” Approval 8. Additionally, the Secretary found that “[c]ontinued oil and

 gas leasing on the OCS may also reduce the risk of spills from the transportation of imported energy

 resources,” and that “revenue sharing with applicable coastal states and political subdivisions ... can

 help mitigate the risks and costs assumed by the States and communities in the area of the lease sale.”

 Approval 5, 8.

        In the ROD, the Secretary rejected the no-action alternative because “the needed domestic

 energy sources and the subsequent positive economic impacts from exploration and production,

 including employment, would not be realized. Furthermore, revenue would not be collected by the

 Federal Government nor subsequently disbursed to the States.” Approval 10. Additionally, the

 Secretary found that other sources of energy “may have different but comparable levels of negative

 environmental impacts, such as the risk of spills from the transportation of alternative oil supplies

 over long distances.” Approval 10. That meant the no-action alternative “would not avoid the

 incremental contribution of the energy substitutes’ impacts to those same cumulative effects.” Id.

 Finally, the Secretary’s approval noted that the Leased Sale 257 stipulations included “all practicable

 means to avoid or minimize environmental harm from the selected alternative.” Approval 11. Lease

 Sale 257 was formally scheduled for March 17, 2021. Approval 1.

        As to Lease Sale 258—which would offer lands in the Cook Inlet, Alaska—BOEM in

 September 2020 began the process of preparing it in accordance with the Current Five-Year Program.

 BOEM released a Call for Information and Nominations in the Federal Register to allow industry

 parties to indicate interest in parcels of the sale area. 85 Fed. Reg. 55859 (Sept. 10, 2020). BOEM also
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  released a Notice of Intent to Prepare an EIS, which provided the public with an opportunity to

  comment on the scope of the lease sale. 85 Fed. Reg. 55861 (Sept. 10, 2020). In January 2021, after

  accounting for comments, BOEM published a Notice of Availability indicating the area proposed for

  sale in the Cook Inlet and a draft environmental impact statement. 86 Fed. Reg. 4116 (Jan. 15, 2021);

  86 Fed. Reg. 4117 (Jan. 15, 2021).

  II.     THE MINERAL LEASING ACT REQUIRES THE FEDERAL GOVERNMENT TO HOLD LEASE
          SALES AT LEAST QUARTERLY FOR ENERGY DEVELOPMENT ON FEDERAL LANDS.

          Besides its offshore interests, the Federal Government also holds energy-producing lands

  onshore. Congress has likewise made those lands available for development: Under the Mineral

  Leasing Act, the Secretary of the Interior is required to hold lease sales “for each State where eligible

  lands are available at least quarterly.” 30 U.S.C. §226(b)(1)(A). The MLA provides that for oil and

  natural gas leases on federal lands, in States other than Alaska, 50 percent of bonuses, production

  royalties, and other revenues are granted to the State in which the lease is located, and 40 percent is

  granted to the Reclamation Fund,2 which maintains irrigation systems in several Western States. 30

  U.S.C. §191(a). For leases in Alaska, 90 percent of revenues are granted to the State. Id.

          BLM has the authority to lease public lands with oil and gas reserves to private industry for

  development under the MLA, the Federal Land Policy and Management Act, 43 U.S.C. §§1701-1787,

  and the BLM’s own regulations and plans, see 43 C.F.R. Part 1600 (Planning, Programming, and

  Budgeting); 43 C.F.R. §§3120 (Competitive Leases) and 3160 (Onshore Oil and Gas Operations).




  2
    Congress amended the Reclamation Act of 1902 to expand the sources of revenue to address
  shortfalls in the fund from its original sources. The bulk of its revenue is from royalties derived from
  federal lands. See Cong. Research Serv., The Reclamation Fund, https://bit.ly/31y4pjT (updated May 21,
  2019). Ironically, the Bureau of Reclamation announced an award of $42.4 million in grants to 55
  projects throughout 13 states stating that “[t]hese grants support President Biden’s new Executive
  Order on Tackling the Climate Crisis at Home and Abroad,” i.e., the very order that drains the Fund
  of its most significant recurring source of funding. Bureau of Reclamation, Press Release,
  https://on.doi.gov/3wfKPac (Mar. 17, 2021).
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  BLM’s regulations also provide for quarterly lease sales. 43 C.F.R. §3120.1-2(a) (“Each proper BLM

  S[t]ate office shall hold sales at least quarterly if lands are available for competitive leasing.”). To

  comply with the MLA, several BLM regional offices planned to hold quarterly sales in March and

  April 2021 to lease available lands.3

  III.    PRESIDENT BIDEN ISSUES EXECUTIVE ORDER 14008, IMPOSING A MORATORIUM ON
          OFFSHORE AND ONSHORE DOMESTIC ENERGY PRODUCTION.

          On January 27, 2021, President Biden issued Executive Order 14008 (“the Biden Ban”). Exec.

  Ord. 14008, Tackling the Climate Crisis at Home and Abroad, 86 Fed. Reg. 7619, 7624-25 (Jan. 27,

  2021). Notwithstanding all the preceding notice, comment, and final decision-making, the Biden Ban

  arbitrarily institutes a moratorium on energy production leases in offshore waters and on public lands:

  Section 208 of the Order commands the Secretary of the Interior to “pause new oil and natural gas

  leases on public lands or in offshore waters pending completion of a comprehensive review and

  reconsideration of Federal oil and gas permitting and leasing practices in light of the Secretary of the

  Interior’s broad stewardship responsibilities over the public lands and in offshore waters, including

  potential climate and other impacts associated with oil and gas activities on public lands or in offshore

  waters.” 86 Fed. Reg. at 7624-25.

          But nothing in the Order provides any rationale for this radical departure from the OCSLA’s

  or MLA’s requirements, or from the Obama Administration’s leasing plan. Nor has Congress departed

  from its prior policies or provided any such directive. Indeed, much of the Biden Ban’s effect is to




  3
   See BLM, Nevada State Office, Notice of Competitive Oil & Gas Internet Lease Sale (Jan. 8, 2021),
  https://on.doi.gov/38AFVdT; BLM Nat’l NEPA Register, 2021 March Oil and Gas Lease Sale,
  https://bit.ly/3ewwGyZ (Montana-Dakotas); BLM, Nat’l NEPA Register, 2021 Utah March
  Competitive Oil and Gas Lease Sale, https://bit.ly/3rHxnJE (Utah); BLM, Nat’l NEPA Register,
  March 2021 Oil & Gas Lease Sale, https://bit.ly/3rFK2g4 (Colorado); BLM, Nat’l NEPA Register,
  April 2021 Competitive Oil and Gas Lease Sale, https://bit.ly/2PYs1f6 (Oklahoma); BLM, Nat’l
  NEPA Register, April 2021 Competitive Oil and Gas Lease Sale - Pecos District Office,
  https://bit.ly/3cjUjrW (New Mexico).
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  unilaterally suspend the already limited leasing schedules implemented under the Obama

  Administration’s Five-Year Program. So the Biden Ban’s only discernable rationale is to follow

  through on campaign promises to kill domestic energy production. See Tarini Parti, Biden Aims for

  Tricky Balance on Fracking, Wall St. J. (Mar. 16, 2020), https://on.wsj.com/3eqA6U2.

         A.      Relying Solely on the Biden Ban, BOEM Cancels Lease Sales 257 and 258.

         On February 18, 2021, Michael Celata, Regional Director of BOEM’s Gulf of Mexico Office,

  issued a Notice to Rescind the Prior Lease 257 Record of Decision. 86 Fed. Reg. 10132 (Feb. 18,

  2021). The Notice declared that the Record of Decision “is rescinded immediately.” 86 Fed. Reg. at

  10132. The half-page-long Federal Register Notice purports to rescind the prior Record of Decision,

  but it provides no analysis, no comment period, no reference to the statutory factors, no reference to

  the Current Five-Year Program, and no consultation with the States or Tribes. 86 Fed. Reg. at 10132.

  BOEM’s only stated rationale is that it must rescind the Record of Decision “to comply with Executive

  order 14008.” 86 Fed. Reg. at 10132. BOEM now has no plans to hold Lease Sale 257. Instead, the

  Recission Notice states only that “BOEM may reevaluate GOM Lease Sale 257 and publish an

  appropriate ROD in the Federal Register.” 86 Fed. Reg. at 10132.

         Lease Sale 258 fared no better. In early February BOEM published a press release on its website

  cancelling both the public comment period on the Draft EIS and public meetings about Lease Sale

  258. See BOEM, BOEM Cancels Comment Period, Virtual Meetings for Proposed Lease Sale

  Offshore Alaska (Feb. 4, 2021), https://bit.ly/3bF7Xqs. The press release relies solely upon Executive

  Order 14008 to close the comment period. BOEM later memorialized its press release in a Federal

  Register notice that relies solely on the Biden Ban. 86 Fed. Reg. 10994 (Feb. 23, 2021).

         B.      Relying Solely on the Biden Ban, BLM Cancels All Quarterly Lease Sales.

         The Biden Ban caused BLM offices to halt all pending quarterly lease sales in express

  contravention of the Mineral Leasing Act. Although BLM has published no formal notice in the

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  Federal Register halting the previously planned, heavily vetted, approved, and statutorily required

  quarterly land sales, it did publish a “fact sheet” in which it noted that the President ordered the

  Secretary of the Interior to halt the leasing of public lands. See BLM, Fact Sheet: President Biden to

  Take Action to Uphold Commitment to Restore Balance on Public Lands and Waters, Invest in Clean

  Energy Future (Jan. 27, 2021), https://on.doi.gov/3vlnHqj. And then BLM offices began

  systematically posting postponement or cancellation notices for their March and April 2021 lease

  sales.4

                                               ARGUMENT
  I.        PLAINTIFF STATES HAVE STANDING TO CHALLENGE THE BIDEN BAN AND THE
            RESULTING OFFSHORE AND ONSHORE LEASE-SALE MORATORIUMS.

            Plaintiff States have standing to challenge the Biden Ban’s OCSLA and MLA leasing

  moratoriums because those actions—and the agency actions taken or foregone in reliance on them—

  harm Plaintiff States’ sovereign, proprietary, and parens patriae interests. See Massachusetts v. EPA, 549

  U.S. 497, 518-520 (2007); see also Texas v. United States, 809 F.3d 134, 151-55 (5th Cir. 2015); Texas v.

  United States, 2021 WL 723856, at *10-21 (S.D. Tex. Feb. 23, 2021). Though Plaintiff States have

  standing under the traditional analysis, they also receive “special solicitude” on this issue. Massachusetts

  v. EPA, 549 U.S. at 518-520.

            The Biden Ban’s moratoriums inflict on Plaintiff States substantial and irreparable harms that

  injunctive relief would redress. To take just one example, Plaintiff States are entitled to a substantial

  share of the proceeds from leasing sales under OCSLA, the Gulf of Mexico Energy Security Act, and


  4
   See BLM, Nevada State Office, Errata #1 (Jan. 27, 2021); BLM Nat’l NEPA Register, 2021 March
  Oil and Gas Lease Sale, https://bit.ly/30IFt8N (Montana-Dakotas); BLM Nat’l NEPA Register, 2021
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  Register, April 2021 Competitive Oil and Gas Lease Sale, https://bit.ly/3vhzOou (Oklahoma); BLM,
  Nat’l NEPA Register, April 2021 Competitive Oil and Gas Lease Sale, https://bit.ly/3cpXRZJ (New
  Mexico); BLM, Eastern States Oil and Gas Leases, https://on.doi.gov/3bElRcd.
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  the MLA. See 43 U.S.C. §1337(g)(5)(A); 43 U.S.C. §1356a; 43 U.S.C. §1331 note; 30 U.S.C. §191(a).

  Because the Biden Ban systematically cancels lease sales, the resulting moratoriums deprive the States

  of this vital revenue—all in the midst of a once-in-a-century pandemic. See Zeringue Decl. ¶¶19-20.

  Indeed, the cancellations of Lease Sales 257, 259, and 261 will reduce Louisiana’s GOMESA funding

  by up to $57 million. See Dismukes Decl. ¶22. Beyond that, the moratoriums cause substantial

  economic harm to Plaintiff States’ citizens by causing billions of dollars of lost investments and

  thousands of lost jobs. See Considine Decl. ¶¶17, 25; Dismukes Decl. ¶44. And the moratoriums

  directly threaten the integrity of at least one State’s coastline. Those harms more than suffice to

  establish standing. See Massachusetts v. EPA, 549 U.S. at 518-526 (once a concrete harm established,

  magnitude of harm irrelevant); Texas v. United States, 809 F.3d at 151-55; Alfred L. Snapp & Son, Inc. v.

  Puerto Rico ex rel. Barez, 458 U.S. 592, 607 (1982) (parens patriae standing appropriate when based on

  State’s “interest in the health and well-being—both physical and economic—of its residents in

  general”). And the moratoriums will harm Plaintiff States’ ability to purchase affordable energy to

  carry out their sovereign functions. Orangeburg, S.C. v. FERC, 862 F.3d 1071, 1074 (D.C. Cir. 2017)

  (“[T]he city has demonstrated an imminent loss of the opportunity to purchase a desired product

  (reliable and low-cost wholesale power).”).

          Plaintiff States have a cause of action under the APA to challenge the Biden Ban’s leasing

  moratoriums and actions taken in reliance on them. Those are final agency actions because they

  “mark[] the consummation of the agency’s decisionmaking process” and “legal consequences” flow

  from them. U.S. Army Corps of Eng’rs v. Hawkes Co., 136 S. Ct. 1807, 1813 (2016); Ensco Offshore, 781 F.

  Supp. 2d at 336 (“And so, agency delay in issuing or denying a permit [under OCSLA], or the failure

  to act at all, is a final agency action made reviewable by the APA.”); Texas v. United States, 2021 WL




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  723856, at *32 (holding 100-day moratorium on removals constituted final agency action).5 The

  unlawful delays of Lease Sales 257 and 258, and the MLA leasing sales, constitute final agency action

  under the APA. Ensco Offshore, 781 F. Supp. 2d at 336; Hornbeck Offshore Servs., 696 F. Supp. 2d at 636.

  Discovery in this case will also uncover other final agency actions issued at the Secretarial level that

  have not been made public.6 See Pub. Citizen, Inc. v. Trump, 435 F. Supp. 3d 144, 146 (D.D.C. 2019)

  (“[The court] then granted Plaintiffs leave to take limited discovery concerning whether the Executive

  Order had caused any relevant delay or withdrawal of a rule.”).

          Finally, Plaintiff States are within the zone of interests that OCSLA and the MLA protect. See

  Collins v. Mnuchin, 938 F.3d 553, 574 (5th Cir. 2019). “The Court has said, in the APA context, that the

  test is not especially demanding.” Id. (quoting Lexmark Int’l, Inc. v. Static Control Components, Inc., 572

  U.S. 118, 130 (2014)) (cleaned up). Instead, the “benefit of any doubt goes to the plaintiff.” Id.

  Therefore, the zone-of-interests test “forecloses suit only when a plaintiff’s interests are so marginally

  related to or inconsistent with the purposes implicit in the statute that it cannot reasonably be assumed

  that’ Congress authorized that plaintiff to sue.” Id. (quoting Lexmark Int’l, 572 U.S. at 130). Plaintiff

  States’ interests easily clear this low threshold. OCSLA gives States a robust role in the leasing process

  by requiring the Secretary to take their input and justify, in writing, departures from their

  recommendations. See, e.g., 43 U.S.C. §1345. The leasing moratoriums destroy this vital statutory right.

  See infra Section II.A.2. And both OCSLA and the MLA entitle States to substantial portions of the

  proceeds from lease sales and subsequent development. See 43 U.S.C. §1337(g)(5)(A); 43 U.S.C.



  5
    Alternatively, Plaintiff States have a cause of action to challenge Defendants’ ultra vires actions as
  they are beyond statutory authority and in conflict with OCSLA and the MLA, see, e.g., Associated
  Builders & Contractors of Se. Texas v. Rung, 2016 WL 8188655, at *5 (E.D. Tex. Oct. 24, 2016), and a
  cause of action under OCSLA’s citizen-suit provision, see 43 U.S.C. §1349.
  6
    It is simply not plausible that the regional offices of BOEM and BLA unilaterally, simultaneously,
  and systematically moved to rescind and delay lease sales without direction from the Secretarial level.
  Such a directive would constitute final agency action. Hawkes Co., 136 S. Ct. at 1813.
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  §1356a; 43 U.S.C. §1331 note; 30 U.S.C. §191(a). It is thus “beyond doubt that Congress had the

  financial interests of States” like the Plaintiff States in mind when it enacted OCSLA and the MLA.

  Texas v. United States, 2021 WL 723856, at *29.

  II.     PLAINTIFF STATES ARE ENTITLED TO A PRELIMINARY INJUNCTION.

          To obtain a preliminary injunction, Plaintiff States “must show: (1) a substantial likelihood of

  success on the merits; (2) a substantial threat of irreparable harm if the injunction is not granted; (3)

  that the threatened injury outweighs any harm that the injunction might cause to the defendant; and

  (4) that the injunction will not disserve the public interest.” Opulent Life Church v. City of Holly Springs,

  Miss., 697 F.3d 279, 288 (5th Cir. 2012). Each factor weighs in the Plaintiff States’ favor.

          A.      Plaintiffs Are Likely to Succeed on Their Claims that the Biden Ban on
                  OCSLA Leasing, and the Recission of Lease Sale 257, Violate the APA.

                  1.       The Biden Ban’s OCSLA leasing moratorium did not go through
                           required notice-and-comment procedures.

          With limited exceptions not relevant here, agency rules must go through the APA’s notice-

  and-comment procedures. 5 U.S.C. §553; see also Texas v. United States, 2021 WL 723856, at *43. That

  includes rules that alter “rights and obligations” or do not leave agency decisionmakers free to exercise

  discretion. See Pros. & Patients for Customized Care v. Shalala, 56 F.3d 592, 595 (5th Cir. 1995) (the focus

  is “primarily on whether the rule has binding effect on agency discretion or severely restricts it”); Texas

  v. United States, 809 F.3d at 171 (“‘If a statement denies the decisionmaker discretion in the area of its

  coverage ... then the statement is binding, and creates rights or obligations.’”). In deciding whether

  rules fall under those headings, courts must be “mindful but suspicious of the agency’s own

  characterization” of the rule. Id.

          On its face, the Biden Ban imposes a drilling moratorium that both alters rights and obligations

  and leaves agency decisionmakers without discretion. The Order uses mandatory language to

  command the Secretary to impose a blanket halt on lease sales. See 86 Fed. Reg. at 7624-25 (“[T]he

                                                            12
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  Secretary of the Interior shall pause new oil and natural gas leases on public lands or in offshore

  waters.”). Because this so-called “pause” alters potential lessees’ right to participate in sales—and

  Plaintiff States’ entitlement to proceeds from lease sales under OCSLA and the Five-Year Program—

  it is a substantive rule that cannot be imposed by fiat, but must be promulgated following the APA’s

  notice-and-comment procedures. See Dep’t of Labor v. Kast Metals Corp., 744 F.2d 1145, 1153 (5th Cir.

  1984) (“An agency rule that modifies substantive rights and interests can only be nominally procedural,

  and the exemption for such rules of agency procedure cannot apply.”).

          BOEM’s Recission of Lease Sale 257 falls under the same heading. Relying solely on the Biden

  Ban, the Recission purports to immediately cancel the Secretary’s prior Record of Decision approving

  the sale. 86 Fed. Reg. 10132 (Feb. 18, 2021). This Recission is itself a final rule that altered substantive

  rights and deprived the States of their entitlement to the substantial proceeds promised by Lease Sale

  257. See Texas, 809 F.3d at 176-77 (rule is substantive if it “‘change[s] the substantive standards by

  which the [agency] evaluates’ applications which seek a benefit that the agency has the power to

  provide”). So it too must have been adopted through notice-and-comment rulemaking. But it was not.

          Fifth Circuit precedent eliminates any remaining doubt about whether the Recission must have

  been the product of notice-and-comment rulemaking. Because the Recission made an about-face on

  Lease Sale 257, the Secretary “must [have] provide[d] a reasoned explanation for its revisions and

  follow[ed] the same process to revise a rule as it used to promulgate it.” Clean Water Action v. EPA, 936 F.3d 308,

  312 (5th Cir. 2019) (emphasis added) (citing Perez v. Mortg. Bankers Ass’n, 135 S. Ct. 1199, 1206 (2015)).

  The Secretary approved Lease Sale 257’s Record of Decision only after holding a notice-and-comment

  period and building an extensive administrative record. See 85 Fed. Reg. 73508 (Nov. 18, 2020); 86

  Fed. Reg. 6365 (Jan. 21, 2021). The Recission, however, follows none of these processes. It simply

  revokes the Record of Decision in a one-page Federal Register notice.



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          In short, no aspect of the Biden Ban’s OCSLA leasing moratorium has been subject to the

  APA’s required notice-and-comment procedure. The agency thus violated §553 of the APA in

  rescinding Lease Sale 257.7 See Kast Metals Corp., 744 F.2d at 1153 n.17 (“Section 553 was enacted to

  give the public an opportunity to participate in the rule-making process.”).

                  2.      The Biden Ban’s OSCLA leasing moratorium and the Recission of
                          Lease Sale 257 are contrary to law.

          Agency action is unlawful if it is “not in accordance with law” or “in excess of statutory

  jurisdiction, authority, or limitations.” 5 U.S.C. §706(2)(A) & (C). OCSLA sets out “four distinct

  statutory stages to developing an offshore oil well: (1) formulation of a five-year leasing plan by the

  Department of the Interior; (2) lease sales; (3) exploration by the lessees; (4) development and

  production.” Sec’y of the Interior v. California, 464 U.S. at 337. In this complex process, “[e]ach stage

  involves separate regulatory review” and “specific requirements for consultation with Congress,

  between federal agencies, or with the States.” Id.

          The Biden Ban’s OCSLA leasing moratorium and the Recission of Lease Sale 257 ignore those

  requirements. The moratorium effectively repeals the Five-Year Program—and does so without

  consulting with “the governors of affected states” or “respond[ing] in writing to all comments or

  requests received from the state governors,” as OCSLA commands. Id. (citing 43 U.S.C. §1344). The

  President has no authority to alter those procedures; they would be rendered hortatory nullities if the

  President could alter a duly promulgated Five Year Program by fiat, as the Biden Ban purports to do.8


  7
    Further harm is imminent because the agency has followed the same script for Lease Sale 258, which
  has been frozen by a cursory press release and a later Federal Register notice relying upon the Biden
  Ban. See BOEM, “BOEM Cancels Comment Period, Virtual Meetings for Proposed Lease Sale
  Offshore Alaska” (Feb. 4, 2021), https://bit.ly/3bF7Xqs; 86 Fed. Reg. 10994 (Feb. 23, 2021).
  8
    OCSLA gives the President power to reserve land, see 43 U.S.C. §1341, but the President did not
  employ this authority regarding the lands subject to the Five-Year Program. In any event, land that
  has already been identified for leasing, vetted through a multi-year process, and planned for sale all
  through notice and comment could not be suddenly and arbitrarily reserved without further
  compliance with the APA.
                                                         14
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          The Recission of Lease Sale 257’s Record of Decision similarly avoids OCSLA’s exacting

  statutory lease-sale procedures. Most notably, at the lease-sale stage, “[a]ny Governor of any affected

  State or the executive of any affected local government in such State may submit recommendations

  to the Secretary regarding the size, timing, or location of a proposed lease sale,” 43 U.S.C. §1345(a),

  and the Secretary “shall accept” such recommendations from a Governor if the Secretary “determines,

  after having provided the opportunity for consultation, that they provide for a reasonable balance

  between the national interest and the well-being of the citizens of the affected State,” id. §1345(c). By

  rescinding the duly promulgated Lease Sale 257 Record of Decision, which was based on consultation

  with the States, BOEM has flagrantly disregarded OCSLA’s consultation requirements.9

          Making matters worse, BOEM itself lacks statutory or delegated authority to issue the

  Recission. Congress entrusted the Secretary of the Interior with the authority to approve Notices of

  Sale and to administer the leasing program. See 43 U.S.C. §§1337, 1344. The Departmental Handbook

  specifically withholds any delegation of authority to BOEM for the “[a]cceptance or rejection of state

  recommendations on the size, timing, or location of oil and gas lease sales, pursuant to 43 U.S.C.

  §1345”; “[a]pproval of the Proposed and Final Notices of Sale for an oil and gas lease sale, pursuant

  to 43 U.S.C. §1337(1), and approval and signing of the related Record of Decision for such oil and

  gas lease sale”; and “[a]pproval of the length of the primary oil and gas lease terms to be offered in a

  lease sale, pursuant to 43 U.S.C. §1337(b).” 218 DM 1, at 2-3. Director Celata thus had no lawful

  authority to rescind the Lease Sale 257 Record of Decision, nor to undo the decisions that are

  statutorily entrusted to, and retained by, the Secretary.10



  9
    Though throughout this brief Plaintiffs focus on consultation with States, its bears noting that local
  governments and tribes also play and important role in the consultation process.
  10 Removing even a pretense of authority, Secretarial Order 3395 explicitly divested Director Celata of

  any authority even “[t]o publish, cause to be published, or aid in the publication of any notice in the
  Federal Register.”
                                                        15
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          By arbitrarily amending the Current Five-Year Program and withdrawing the duly issued

  Record of Decision by fiat, the moratorium and Recission ignore OCSLA’s provisions that require

  consulting with the States, submitting a plan to Congress and the President, holding comment periods,

  and preparing several exhaustive environmental impact statements. Those agency actions also ignore

  the purpose of OCSLA—expeditiously facilitating the development of the Outer Continental Shelf. See 43 U.S.C.

  §1332(3); Hornbeck Offshore Servs., 696 F. Supp. 2d at 632; Ensco Offshore, 781 F. Supp. 2d at 336-37. By

  so doing, the Biden Ban’s OCSLA leasing moratorium substitutes OCSLA’s finely wrought and

  carefully calibrated cooperative federalism process with an entirely new process of “because we said

  so”: Five-Year Programs cancelled by Executive Order and individual lease sales rescinded by press

  release and unreasoned, cursory Federal Register notices. Those actions are contrary to law.

                  3.       The Biden Ban’s OCSLA leasing moratorium and the Recission of
                           Lease Sale 257 are arbitrary and capricious.

          The APA commands courts to “hold unlawful and set aside agency action, findings, and

  conclusions found to be arbitrary, capricious, an abuse of discretion.” 5 U.S.C. §706(2)(A). To meet

  this standard, “[f]ederal administrative agencies are required to engage in ‘reasoned decisionmaking.’”

  Texas v. United States, 2021 WL 723856, at *39. “This necessarily means that ‘[n]ot only must an

  agency’s decreed result be within the scope of its lawful authority, but the process by which it reaches

  that result must be logical and rational.’” Id.

          Neither the Biden Ban nor the Rescission itself offers any explanation for the OCSLA leasing

  moratorium. Neither betrays any awareness or understanding that Outer Continental Shelf lease sales

  like Lease Sale 257 are both the result of years of analysis, consultation, environmental assessment, and

  public comment but also are integrated into continuous, complex, and long-term leasing and revenue

  production and use. Indeed, the Secretary’s Record of Decision approving Lease Sale 257 was based

  on a robust administrative record and contained an extensive discussion of the OCSLA factors and

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  the national interest. The Recission never engages with those or any other specific factual findings in

  the ROD. See F.C.C. v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009) (agency must “provide a

  more detailed justification than what would suffice for a new policy created on a blank slate ... when,

  for example, its new policy rests upon factual findings that contradict those which underlay its prior

  policy”). A command in an executive order does not exempt an agency from the APA’s reasoned-

  decisionmaking requirement. Cf. California v. Bernhardt, 472 F. Supp. 3d 573, 600-01 (N.D. Cal. 2020)

  (“While the Executive branch holds the power to issue executive orders, an agency cannot flip-flop

  regulations on the whims of each new administration. The APA requires reasoning, deliberation, and

  process. These requirements exist, in part, because markets and industries rely on stable regulations.”).

          What’s more, the ROD was based on the 2017-2022 Five-Year Program—itself the product

  of an extensive multiyear proceeding including millions of comments, multiple extensive

  environmental impact statements, consultation with State governments and relevant federal agencies,

  and submission to Congress and the President. The Rescission acts as if this extensive rulemaking

  record did not even exist. It does not engage with previous findings and does not even mention

  OCLSA’s statutory factors. Instead, it occupies half a page of the Federal Register and cites only one

  source of authority—Executive Order 14008—which itself contains no analysis of the statute or

  previous rulemaking proceeding. Clean Water Action, 936 F.3d at 313-14 (“[A]gencies may amend rules

  provided that they ‘use the same procedures when they amend ... a rule as they used to issue the rule

  in the first instance.’”).

          Nor does the Recission grapple with BOEM’s specific factual finding in 2016 that directly

  contradicts the OCSLA leasing ban. Then, BOEM concluded that “[i]n each price case, and in each

  scenario for the 2017–2022 Program, U.S. GHG emissions would be slightly higher if BOEM were

  to have no lease sales, assuming no major market or policy changes. … Emissions from substitutions

  are higher due to the exploration, development, production, and transportation of oil from
                                                         17
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  international sources being more carbon-intensive.” OSC Report BOEM 2016-065, at 36 (Nov. 2016).

  So much for stopping leases to stop climate change.

          The Recission also ignores the overwhelming reliance interests that have grown up around the

  2017-2022 Program generally and Lease Sale 257 specifically. See Encino Motorcars, LLC v. Navarro, 136

  S. Ct. 2117, 2126 (2016). Plaintiff States have structured significant environmental programs around

  the expected proceeds of OCSLA lease sales. See Zeringue Decl. ¶19 (“The currently approved Coastal

  Master Plan is based upon a projected $389 million dollars in GOMESA expenditures over the next

  three fiscal years.”). Defendants’ failure to take into account prior agency positions, and the reliance

  interests that have grown up around them, are the very definition of arbitrary and capricious agency

  action. See Dep’t of Homeland Sec. v. Regents of the Univ. of California, 140 S. Ct. 1891, 1913 (2020) (“[W]hen

  an agency rescinds a prior policy its reasoned analysis must consider the ‘alternative[s]’ that are ‘within

  the ambit of the existing [policy].’); Fox Television Stations, 556 U.S. at 515 (“[T]he requirement that an

  agency provide reasoned explanation for its action would ordinarily demand that it display awareness

  that it is changing position.”); see also Texas v. United States, 2021 WL 723856, at *42 (“the Court has

  basically no material from which it may evaluate if DHS considered any facts, let alone whether the

  facts the agency considered ‘run[ ] counter’ to DHS’s ultimate choice to implement the 100-day

  pause”).

          The opaque and rushed nature of the Biden Ban’s OCSLA moratorium and the Recission also

  undermines the integrity of this decisionmaking process. The Five-Year Program and Record of

  Decision took more than six years to produce; the Recission unraveled them with the stroke of a pen

  shortly after Inauguration Day after an agency decisionmaking process that, at best, took less than six

  weeks (and indeed occurred before the current Secretary had even been confirmed). “That did not

  leave much time for reflection and analysis.” Texas v. United States, 2021 WL 723856, at *41. Given the

  extensive prior administrative records leading to the prior decisions, there is a “significant mismatch”
                                                            18
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  between the Biden Ban’s OCSLA leasing moratorium and the administrative record. See Dep’t of

  Commerce v. New York, 139 S. Ct. 2551, 2575 (2019).

                  4.      The Biden Ban’s OSCLA leasing moratorium and the Recission of
                          Lease Sale 257 unlawfully and unreasonably withhold agency action.

          Under the APA, a court “shall [] compel agency action unlawfully withheld or unreasonably

  delayed.” 5 U.S.C. §706(1). The Recission offers no reasoning for delaying the sale. Instead, it refers

  only to the Biden Ban as the sole reason for delay. But the Executive Order itself offers no reason or

  statutory basis for the Ban or the delay. This unexplained delay, like that of Lease Sale 258, is

  particularly egregious and unlawful given “OCSLA’s overriding policy of expeditious development.”

  Ensco Offshore Co., 781 F. Supp. 2d at 339.

          B.      Plaintiffs Are Likely to Succeed on Their Claims that the Biden Ban on MLA
                  Lease Sales Violates the APA.

                  1.      The Biden Ban’s MLA leasing moratorium is contrary to law.

          The Biden Ban’s moratorium on leasing onshore public lands contravenes the MLA’s

  unambiguous commands to BLM. Like OCSLA, the MLA requires that “lease sales shall be held for

  each State where eligible lands are available at least quarterly.” 30 U.S.C. §226(b)(1)(A). As the several

  scheduled lease sales attest, see supra, there were eligible lands available, but BLM unilaterally cancelled

  the quarterly sales anyway. The President has no power to abrogate this mandatory statutory command

  by fiat. Instead, BLM is required to hold the lease sales as previously scheduled. See W. Energy All. v.

  Zinke, 877 F.3d 1157, 1166 (10th Cir. 2017) (“If the BLM’s current procedures, including those

  dictated by the Leasing Reform Policy, serve as a roadblock in achieving quarterly lease sales, the BLM

  will presumably have to abandon both its existing procedures and underlying policies.”); see also W.

  Energy All. v. Jewell, 2017 WL 3600740, at *4 (D.N.M. Jan. 13, 2017) (noting that it would violate the

  MLA if “BLM offered grounds other than a lack of available eligible lands” for “cancell[ing] or

  postpon[ing]” lease sales).
                                                          19
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                  2.      The Biden Ban’s MLA leasing moratorium is arbitrary and capricious.

          The Biden Ban’s MLA leasing moratorium is arbitrary and capricious because neither

  Executive Order 14008 nor the individual lease cancellations offer any explanation—reasoned or

  otherwise—for why BLM cancelled the quarterly sales. Texas v. United States, 2021 WL 723856, at *39.

  Indeed, the cancellations themselves were announced only in one-sentence postings on the sale-notice

  pages of BLM’s websites that declared the sales to be postponed without explanation. To the extent

  the “factsheet” on BLM’s website offers an explanation, it does so only by referring to Executive

  Order 14008, which itself offers no reasoning for the moratorium on leasing. Cf. California v. Bernhardt,

  472 F. Supp. 3d at 605 (“A president’s Executive Order cannot ‘impair or otherwise affect’ statutory

  mandates imposed on BLM by Congress.” (citing In re Aiken Cty., 725 F.3d 255, 260 (D.C. Cir. 2013)

  (Kavanaugh, J.)).

          The Biden Ban’s MLA leasing moratorium does not engage with BLM’s prior decision to hold

  lease sales, compare Fox Television Stations, 556 U.S. at 515; build any kind of administrative record,

  compare Texas v. United States, 2021 WL 723856, at *39; or consider the serious reliance interests of the

  Plaintiff States in the revenues and economic benefit of these sales, compare Encino Motorcars, 136 S. Ct.

  at 2126. States with BLM-leasable tracts stand to lose billions of dollars in investments and tax revenue,

  and thousands of jobs. See Considine Decl. ¶¶18-40; Dismukes Decl. ¶17. Defendants’ actions ignore

  those serious reliance interests—a hallmark of arbitrary and capricious action.11 Cf. Texas v. United

  States, 2021 WL 723856, at *11 (“[T]he financial harm to States ... are not nebulous but rather ‘serious




  11
    Further demonstrating the arbitrariness of Leasing Moratorium, the Administration has treated
  Tribal lands separately and more favorably in the permitting process. See Memorandum to Darryl
  LaCounte, Director of the Bureau of Indian Affairs from Robert T. Anderson, Senior Counselor to
  the Secretary (Jan. 25, 2021), https://bit.ly/3r0lzku (exempting Tribal lands from Secretarial Order
  3395, which revoked delegations of authority to BLM regional offices to approve permits).
                                                        20
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  and well recognized.’”). Because the cancellations of the quarterly lease sales are not the product of

  reasoned decision making, they must be enjoined as arbitrary and capricious. See 5 U.S.C. §706(2)(A).

                   3.     The Biden Ban’s MLA leasing moratorium is a final substantive rule
                          that required notice-and-comment rulemaking.

          The process through which the quarterly lease sales have been delayed is at best opaque. As

  discussed, supra Section II.A.1, the Biden Ban uses mandatory language to direct the cancellation of

  lease sales. That makes the MLA lease moratorium a substantive rule; no discretion is left to

  decisionmakers and the MLA lease moratorium alters rights and obligations. Texas v. United States, 809

  F.3d at 171.

          At least for the Recission of Lease Sale 257, the agency published a Federal Register notice

  indicating that it was being delayed; BLM has not even done that for the delayed MLA lease sales.

  Instead, BLM State office websites began to include one-sentence notices that the sales had been

  “postponed.” See supra.12 That sort of identical, nationwide approach surely would not happen without

  a formal Secretarial-level directive to the State and regional offices to cancel their lease sales because

  of the Biden Ban—and such an order would constitute final agency action and a substantive rule that

  requires notice-and-comment procedures. Texas v. United States, 2021 WL 723856, at *43.

          But even if each individual BLM office’s cancellation order were not the result of a Secretarial-

  level directive, those orders themselves were rules that must have gone through the APA’s notice-

  and-comment procedures because they are substantive rules that alter rights and obligations. See 5

  U.S.C. §553; Texas v. United States, 809 F.3d at 171. They did not go through that process. That makes

  them unlawful.




  12
    The one exception is the “Errata” issued by Nevada’s office, which at least takes the form of a
  letter. It, however, also offers no reason for the cancellation.
                                                         21
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                   4.         The Biden Ban’s MLA leasing moratorium unlawfully and
                              unreasonably withholds agency action.

          Finally, the Biden Ban’s MLA leasing moratorium also constitutes “unlawfully withheld or

  unreasonably delayed” agency action. See 5 U.S.C. §706(1). As discussed, supra Section II.B.1, the MLA

  unambiguously requires BLM to hold quarterly land sales, but BLM has refused to do so despite the

  presence of available land. BLM’s inaction ignores this statutory requirement—and BLM fails to offer

  any reason whatsoever for withholding these actions. The cancellations are thus both unlawfully

  withheld and unreasonably delayed agency action. See Ensco Offshore, 781 F. Supp. 2d at 336.

          C.       Plaintiff States Will Suffer Irreparable Harm Without An Injunction.

          “To show irreparable injury if threatened action is not enjoined, it is not necessary to demonstrate

  that harm is inevitable and irreparable.” Humana, Inc. v. Avram A. Jacobson, M.D., P.A., 804 F.2d 1390, 1394

  (5th Cir. 1986). Instead, Plaintiff States “need only show it ‘cannot be undone through monetary

  remedies’” and that they are “‘likely to suffer irreparable harm in the absence of preliminary relief.’” Texas

  v. United States, 2021 WL 723856, at *48. Plaintiff States easily clear this threshold. The Biden Ban’s OCSLA

  and MLA leasing moratoriums will cause irreparable harm to Plaintiff States’ sovereign, proprietary, and

  parens patriae interests.

          First, the leasing moratoriums will deprive Plaintiff States of substantial revenue to which they are

  statutorily entitled under four programs. First, under OCSLA’s revenue-sharing program, the States with

  offshore federal leases located within the first three miles from the State’s seaward boundary receive

  27 percent of the revenue generated from those leases. 43 U.S.C. §1337(g)(5)(A). Second, the Coastal

  Impact Assistance Program provides assistance from leases to Plaintiffs Alabama, Louisiana,

  Mississippi, and Texas. 43 U.S.C. §1356a. Third, the Gulf of Mexico Energy Security Act provides for

  the sharing of 37.5 percent of qualified Outer Continental Shelf revenues among Plaintiffs Alabama,

  Louisiana, Mississippi, and Texas to aid in coastal-restoration efforts. P.L. 109-432, 120 Stat. 3000, 43

  U.S.C. §1331 note. Fourth, the MLA provides that States other than Alaska receive 50 percent of
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  bonuses, production royalties, and other revenues for leases located in their States, with 40 percent of

  the remaining funds granted to the Reclamation Fund, which maintains irrigation systems in several

  Western States. 30 U.S.C. §191(a).13

          By rescinding Lease Sale 257 and indefinitely postponing all future lease sales, the Biden Ban’s

  OCSLA moratorium irreparably divests these vital funds from Plaintiff States. Louisiana alone stands

  to lose up to $57 million from the cancellation of Lease Sales 257, 259, and 261. See Dismukes Decl.

  ¶22. Similarly, the MLA leasing moratorium deprives Plaintiff States of millions of dollars in revenue. See

  Considine Decl. ¶¶26-40. These injuries are irreparable because there is no conceivable path for

  Plaintiff States “to pierce the federal government’s usual sovereign immunity or contrive a remedial

  cause of action sufficient to recover from its budgetary harm.” Texas v. United States, 2021 WL 723856,

  at *50 (citing Texas, 809 F.3d at 186); see also id. (“Texas has ‘alleged a concrete threatened injury in the

  form of millions of dollars of losses,’ while the Government postulates harms with respect to Article II

  authority ‘that are less substantial’ and ‘vague.’”).

          Second, the Biden Ban’s OCSLA leasing moratorium causes irreparable injury to the sovereign

  integrity of the State of Louisiana. Louisiana is losing large swaths of coastal land—nearly two

  thousand square miles and counting—due to follow-on effects from environmental catastrophes. See

  LCRPA, “Coastal Crisis” available at https://bit.ly/3ewyqZ3; see also USGS, Land Area Change in

  Coastal Louisiana (1932 to 2016), https://bit.ly/38ySDcU (“To put these numbers into perspective,

  this equates to long-term average loss rates of approximately an American football field’s worth of

  coastal wetlands within 34 minutes when losses are rapid to within 100 minutes at more recent, slower




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    See n.2, supra, (noting that Arizona, California, Colorado, Idaho, Kansas, Montana, Nebraska, New
  Mexico, Oregon, Texas, Utah, Washington, and Wyoming all recently received grants for important
  environmental projects from the Reclamation Fund.) Because the Fund has been supporting projects,
  including the Hoover Dam, for more than 120 years, all the Western United States suffer from draining
  or diminishing the royalty revenues that supply the funds for their ongoing projects.
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  rates.”). Proceeds from lease sales contribute substantial funds to coastal restoration and protection

  programs. See Dismukes Decl. ¶27 (“For example, $50 million in GOMESA funds have been

  committed to construct a permanent gate structure that will protect portions of six parishes from

  storm surges and flooding.”); see also Zeringue Decl. ¶12 (“The CPRA’s only annual recurring source

  of revenue from the federal government comes from the [GOMESA], which created a standing

  revenue-sharing arrangements between the states of Texas, Louisiana, Mississippi and Alabama.”).

  And OCSLA leases themselves often provide essential materials for the restoration of Louisiana’s

  coastline. See, e.g., “BOEM Announces Restoration Project for Louisiana’s Gulf Coast” (June 4, 2019),

  https://bit.ly/3bFNC4p (“BOEM has issued 58 leases to convey over 162 million cubic yards of OCS

  sand for projects to restore approximately 346 miles of the U.S. Atlantic and Gulf Coasts.

  Approximately 63 million cubic yards of OCS sand have been leased to restore Louisiana’s coast.”).

  The deprivation of funds caused by the Biden Ban’s OCSLA leasing moratorium directly and

  irreparably contributes to the loss of Louisiana’s coastline, coastal communities, and environmental

  habitat.14 Cf. Massachusetts v. E.P.A., 549 U.S. at 519 (State’s “independent interest ‘in all the earth and

  air within its domain’” and “well-founded desire to preserve its sovereign territory” constitutes injury).

            Third, the Biden Ban’s leasing moratoriums will significantly harm Plaintiff States’ economies

  and inflict economic harm on their citizens. See Alfred L. Snapp & Son, Inc., 458 U.S. at 607 (allowing

  State to defend its “interest in the health and well-being—both physical and economic—of its

  residents in general”). The leasing moratoriums will result in lost jobs and billions of dollars in lost

  revenue in Plaintiff States. See Considine Decl. ¶¶4, 26-40; Dismukes Decl. ¶¶18-24, 44. These facts

  establish irreparable harm to “‘both … the parties and to the public.’” Hornbeck, 696 F. Supp. 2d at

  638-39. Indeed, just as in Hornbeck, the “effect on employment, jobs, [and] loss of domestic energy



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       See LCPRA, Strategic Plan FY 2020-2025, https://bit.ly/3rGjH1D.
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  supplies caused by the moratorium ... will clearly ripple throughout the economy in this region” and

  therefore constitutes irreparable harm. Id.; see id. at 638 (“[T]he Court is persuaded that it is only a

  matter of time before more business and jobs and livelihoods will be lost. The defendants trivialize

  such losses by characterizing them as merely a small percentage of the drilling rigs affected, but it does

  not follow that this will somehow reduce the convincing harm suffered.”).

           D.     An Injunction Would Not Harm Defendants or Disserve the Public Interest.

           Finally, the public interest and balance of harms weigh in favor of granting a preliminary

  injunction. Simply put, Defendants “have no legitimate interest in the implementation of an unlawful”

  Moratorium. Texas, 2021 WL 723856, at *49. Instead, “the public is served when the law is followed.”

  Id. at *51 (quoting Daniels Health Scis., L.L.C. v. Vascular Health Scis., L.L.C., 710 F.3d 579, 585 (5th

  Cir. 2013)); see also League of Women Voters of United States v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016)

  (“There is generally no public interest in the perpetuation of unlawful agency action.”). And the public

  has a strong interest in the proper function of oil and gas leasing and development programs. See, e.g.,

  Hornbeck, 696 F. Supp. 2d at 639 (“An invalid agency decision to suspend drilling of wells in depths

  of over 500 feet simply cannot justify the immeasurable effect on the plaintiffs, the local economy,

  the Gulf region, and the critical present-day aspect of the availability of domestic energy in this

  country.”). Accordingly, the public interest and balance of harms weigh heavily in Plaintiff States’

  favor.

                                             CONCLUSION

           For the foregoing reasons, Plaintiff States respectfully request a preliminary injunction

  requiring Defendants to disregard Executive Order 14008’s Leasing Moratoriums and continue

  holding OCSLA and MLA oil and gas leasing sales as those statutes and the Five-Year Plan require.




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                                            Respectfully submitted,

   Dated: March 31, 2021                     /s/                           T

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